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                                                     UNITED STATES DISTRICT COURT
                                                        DISTRICT OF COLORADO

                         Civil Case No. 1:20-cv-20-2312


                         CHANDRA SHEKHAR,

                                              Plaintiff,

                         v.

                         WHEREABLE TECHNOLOGIES, LLC, and
                         DALE MAYO, an individual,

                                             Defendants.



                                                                  COMPLAINT



                                                                INTRODUCTION

                              1. Plaintiff Chandra Shekhar worked as a Senior Firmware Engineer for Defendants’

                                 company and was wholly unpaid for two months’ worth of pay. To challenge these and

                                 other wage violations, Plaintiff brings this action, by and through his attorney, against

                                 Defendants Whereable Technologies, LLC, and Dale Mayo, an individual, to recover

                                 unpaid or underpaid wages and other damages under the provisions of the Fair Labor

                                 Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (hereinafter “FLSA”) and the

                                 Colorado Wage Claim Acts (“CWCA”).

                                                           JURISDICTION AND VENUE

                              2. This Court has jurisdiction over the subject matter of the action pursuant to 28 U.S.C. §

                                 1331, by virtue of federal questions, 29 U.S.C. § 201 et seq. of the FLSA.



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                            3. This Court has supplemental jurisdiction over Plaintiff’s state law claims by authority of

                                28 U.S.C. § 1367.

                            4. Venue lies with this Court pursuant to 28 U.S.C. § 1391(b) and 29 U.S.C. § 201 et seq. A

                                significant portion of the events giving rise to the instant litigation occurred at the

                                Defendants’ facility located at 325 W South Boulder Road, Louisville, CO 80027

                                                                   PARTIES

                         Defendant Whereable Technologies, LLC

                            5. Defendant Whereable Technologies, LLC (hereinafter “Whereable”) is a foreign

                                corporation whose principal place of business is located at Whereable Technologies LLC

                                1000 Johnnie Dodds Blvd., Suite 103-312, Mount Pleasant, SC 29464. Its DOS Process

                                agent is listed with the CO Secretary of State as C T Corporation System with an address

                                of 7700 E Arapahoe Rd Ste 220, Centennial, CO 80112-1268.

                            6. At all relevant times, Defendant Whereable had annual gross revenues in excess of

                                $500,000.

                            7. At all relevant times, Defendant Whereable was engaged in interstate commerce and/or the

                                production of goods for commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a)

                                and 207(a).

                            8. At all times material to this action, Defendant Whereable was subject to the FLSA and was

                                an “employer” of the Plaintiff, as defined by § 203(b) of the FLSA and CWA.

                         Defendant Dale Mayo

                            9. Defendant Dale Mayo, an individual, resides in New Jersey, upon information and belief.

                            10. At all times material to this action, Defendant Mayo actively participated in the business

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                                of the corporation.
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                            11. Mr. Mayo is the CEO of Whereable.

                            12. Mr. Mayo had the authority to terminate Plaintiff’s employment, although he did not

                                exercise it.

                            13. Mr. Mayo had the authority to decide which of the company’s payables (including

                                Plaintiff’s wages) were to be paid and when.

                            14. At all times material to this action, Defendant Mayo exercised substantial control over the

                                functions of the company’s employees including Plaintiff.

                            15. At all times material to this action, Defendant Mayo was an “employer” of the Plaintiff, as

                                defined by § 203(b) of the FLSA, and CWA.

                         Plaintiff Chandra Shekhar

                            16. Plaintiff Chandra Shekhar is a resident of Parker, Colorado.

                            17. Plaintiff Chandra worked for Whereable as a Senior Firmware Engineer from October 31,

                                2019 to February 14, 2020

                            18. At all times material to this action, Plaintiff Shekhar was an “employee” within the

                                meaning of 29 U.S.C. § 203(e).

                            19. Plaintiff Shekhar’s rate of pay was supposed to be $135,000 per year.

                            20. Plaintiff Shekar has only received three paychecks, dated 11/18/2019, 11/29/2019, and

                                01/07/2020.

                            21. The last check was late, and for the rest of his employment he was not paid at all.

                                                                 LEGAL CLAIMS

                                                    As And For A First Cause of Action:
                                               FAIR LABOR STANDARDS ACT (FLSA) VIOLATIONS

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                            22. Plaintiff realleges and incorporates by reference each allegation contained in the
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                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                         Failure To Pay Minimum Wage

                            23. For many workweeks Plaintiff worked for Defendants, he was not paid at all.

                            24. As such, Defendants failed to pay Plaintiff the minimum wage for all hours worked, in

                                violation of the FLSA.

                         Late Payments

                            25. On at least some occasions, Plaintiff did not receive his paychecks on the prescribed

                                paydays.

                            26. Because the employer failed to pay wages or overtime on the regular payment date,

                                Plaintiff is entitled to liquidated damages. See United States v. Klinghoffer Bros. Realty

                                Corp., 285 F.2d 487, 491 (2nd Cir. 1960); Arroyave v. Rossi, 296 Fed. Appx. 835, 836

                                (11th Cir. 2008).

                         Record-Keeping Failures

                            27. At all relevant times, Defendants failed to make, keep, and preserve accurate records

                                regarding the wages, hours, and other conditions of employment of Plaintiff, in

                                contravention of the FLSA and affiliated Regulations, 29 U.S.C. §§ 211(c), 215(a)(5) and

                                29 C.F.R. § 516.

                         Willful & Not Based On Good Faith & Entitlement to Damages

                            28. Defendants had no good faith basis for believing that their pay practices as alleged above

                                were in compliance with the law.

                            29. The foregoing conduct constitutes a “willful” violation of the FLSA, 29 U.S.C. § 255(a).

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                            30. As a result of the violations by Defendant of the FLSA, the Plaintiff is entitled to all

                                damages available under the FLSA which include, but are not limited to, all minimum

                                wages, liquidated damages, attorney fees, costs, and interest, as set forth in the FLSA, more

                                specifically 29 U.S.C. § 216(b).

                                                      As And For A Second Cause of Action:
                                                       COLORADO WAGE ACT VIOLATIONS

                            31. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            32. The Defendants were Plaintiff’s “employer” as that term is defined by the Wage Order. 7

                                C.C.R. 1103-1(2).

                                    a. Plaintiff is an “employee” and Defendants are “employers” under the FLSA.

                                    b. Defendants employed the Plaintiff in a business or enterprise that sells or offers for

                                        sale a service, commodity, article, good real estate, wares or merchandise to the

                                        consuming public, and generates 50% or more of its annual dollar volume of

                                        business from such sales, and therefore in an industry regulated by the Wage Order.

                                        7 C.C.R. §1103-1(2)(A).

                                    c. Defendants employed the Plaintiff in a business or enterprise engaged in providing

                                        medical, dental, surgical or other health services including but not limited to

                                        medical and dental offices, hospitals, home health care, hospice care, nursing

                                        homes, and mental health centers, and includes any employee who is engaged in

                                        the performance of work connected with or incidental to such business or

                                        enterprise, including office personnel, and therefore in an industry regulated by the
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                             33. Plaintiff is Defendants’ “employee” as that term is defined by the Wage Order because he

                                 performed labor for the benefit of Defendant in which Defendant commanded when,

                                 where, and how much labor or services would be performed. 7 C.C.R. 1103-1(2).

                         Failure to Pay Minimum Wage
                         (Violation of the C.R.S. § 8-6-101 et seq.; Colorado Min. Wage Order 31, 7 C.C.R. § 1103-1)

                             34. The Defendants failed to pay Plaintiff at a rate at or above the applicable minimum wage

                                 rate for all hours worked in the workweek.

                             35. Specifically, Defendants paid Plaintiff nothing at all for many workweeks, which is at a

                                 rate of less than the applicable minimum wage rate.

                         Failure to Pay Wages When Due
                         (Violation of the C.R.S. § 8-6-103)

                             36. The Defendants failed to pay Plaintiff all his earned wages when due.

                             37. Specifically, his December 15, 2019 check was paid on January 17, 2020.

                         Failure to Pay All Earned Wages
                         (Violation of the C.R.S. § 8-6-109)

                             38. Plaintiff has separated from his employment with Defendants.

                             39. Defendants have failed to pay Plaintiff all wages and compensation earned during

                                 Plaintiff’s employment.

                         Willful Failure to Respond to Wage Demand
                         (Violation of the Colorado Wage Claim Act, C.R.S. §§ 8-4-109, -110)

                             40. Plaintiff sent Defendant a wage demand letter pursuant to C.R.S. § 8-4-109. 43. In that

                                 Colorado Wage Demand letter, Plaintiff demanded $22,500.00 in unpaid wages.

                             41. More than 14 days have passed since Defendants received Plaintiff’s wage demand letter

                                 and no wages have been tendered.

                             42. Therefore, the Defendants are liable to Plaintiff for an additional 125% of the first $7,500
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                                 ($8,750) plus 50% of the remainder ($7,500), for a total of $16,875 in base wage demand
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                                penalties.

                            43. Further, Defendant’s failure to pay was willful. Defendants implicitly acknowledged

                                receipt of the demand letter but rather than comply with its instructions, instead

                                counter-argued points that even if true (which Plaintiff disputes) had no bearing on his

                                entitlement to be paid in accordance with the law. Therefore, because of this flagrantly

                                willful response to the demand, the penalty shall increase by an additional 50%, or $11,250,

                                bringing the total of wage demand penalties to $28,125, over and above other damages that

                                may be owed as alleged herein.

                         Damages

                            44. Plaintiffs are entitled to recover in this civil action the unpaid balance of the full amount

                                of unpaid wages, underpaid minimum wages, and appropriate penalties, together with

                                reasonable attorney fees and court costs. C.R.S. § 8-6-118; 7 C.C.R § 1103-1(18).


                                                               PRAYER FOR RELIEF

                            WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

                                (A)     Award Plaintiff unpaid and underpaid wages due under the FLSA and the Colorado

                                        Wage Laws; and

                                (B)     Award Plaintiff liquidated damages in the amount of their unpaid FLSA wages

                                        pursuant to 29 U.S.C. § 216(b); and

                                (C)     Award Plaintiff statutory damages as provided for by Colorado law; and

                                (D)     Award Plaintiff interest; and

                                (E)     Award Plaintiff the costs of this action together with reasonable attorneys' fees; and

                                (F)     Award such other and further relief as this Court deems necessary and proper.
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                                                          DEMAND FOR TRIAL BY JURY

                                Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demands a trial

                         by jury on all questions of fact raised by the complaint.



                                Respectfully submitted, this 5th day of August, 2020

                                                                              ANDERSONDODSON, P.C.

                                                                               /s/__Penn Dodson_______
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